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                               Exhibit 27



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                            Page 250
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

    PRICE LITIGATION               )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )   Chief Magistrate

    Abbott Laboratories, Inc.,     )   Judge Marianne B.

    No. 06-CV-11337-PBS            )   Bowler

    - - - - - - - - - - - - - - -

              (cross-captions on following pages)



                               Washington, D.C.

                               Thursday, February 27, 2007

                               9:00 a.m.



          Videotaped deposition of DEIRDRE DUZOR

                           Volume II




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                                                                           Page 251
  1
           IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
  2
                      IN AND FOR LEON COUNTY, FLORIDA
  3
      THE STATE OF FLORIDA
  4
      ex rel.
  5
      - - - - - - - - - - - - - - - - - -
  6
      VEN-A-CARE OF THE FLORIDA KEYS,                       )
  7
      INC., a Florida Corporation, by and )
  8
      through its principal officers and                    )
  9
      directors, ZACHARY T. BENTLEY and                     )
10
      T. MARK JONES,                                        )
11
                        Plaintiffs,                         ) Civil Action
12
               vs.                                          ) No. 98-3032G
13
      MYLAN LABORATORIES INC.; MYLAN                        )
14
      PHARMACEUTICALS INC.; NOVOPHARM                       ) Judge William
15
      LTD., SCHEIN PHARMACEUTICAL, INC.;                    ) L. Gary
16
      TEVA PHARMACEUTICAL INDUSTRIES                        )
17
      LTD.; TEVA PHARMACEUTICAL USA; and                    )
18
      WATSON PHARMACEUTICALS, INC.,                         )
19
                        DEFENDANTS.                         )
20
      - - - - - - - - - - - - - - - - - -
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 1   reduce pharmacy reimbursement from the higher      1     to what the pharmacies were currently paying for
 2   rate that it was going to revert to.               2     drugs. So, you know, we didn't have that
 3      Q. It was a temporary reduction to AWP          3     information in order to compare to it. The only
 4   minus 14 percent because the governor wanted to    4     thing we had was the Inspector General's report.
 5   reduce Medicaid expenditures for a certain fiscal  5         Q. Which showed that AWP was at this time
 6   year; is that right?                               6     for brand-name drugs AWP minus 20 for brand-name
 7          MS. MARTINEZ: Objection, form.              7     drugs and AWP minus roughly 66 percent for
 8      A. Yes. That's what it appears to be. I         8     generics, right?
 9   don't, you know, at the present time really        9             MS. MARTINEZ: Objection to form.
10   recall this in detail. So based upon the          10         A. I thought it was AWP minus 17.
11   document that I'm looking at, yes.                11     Whatever, it was lower than what the state was
12      Q. In order for you to approve this state      12     proposing here. But again, this was lower than
13   plan would Minnesota need to provide you          13     what they would have otherwise been paying. So
14   documentation that AWP minus 11 percent was their 14     it was -- they were moving in the right
15   best estimate of the price that providers were    15     direction.
16   currently and generally paying for drug products  16                (Exhibit Abbott 490 was marked for
17   in Minnesota?                                     17     identification.)
18          MS. MARTINEZ: Objection, form.             18     BY MR. TORBORG:
19      A. At the time our interest was                19         Q. For the record, what I've marked as
20   encouraging states to reduce their payment. And   20     Abbott Exhibit 490 bears the Bates numbers HHC
21   so if they were going to be reducing their        21     002-0172 through 75. It is a December 10th 2002
22   payment, as long as that would not result in an   22     letter from John Coster to Sharon Summers at the
                                            Page 348                                                 Page 350
 1   access problem we were generally accepting their     1   Delaware Policy and Program Implementation Unit.
 2   documentation that this was a better payment than    2   And copied on the memo are some individuals that
 3   what would otherwise be paid, more appropriate       3   include Ms. Duzor.
 4   payment.                                             4          Ms. Duzor, if you would take a look at
 5      Q. So this would fall under the decision          5   this document and let me know if you recognize
 6   memo options that we saw earlier in Abbott           6   it.
 7   Exhibits 328 and 487?                                7       A. (Reading.) I don't recall this
 8         MS. MARTINEZ: Objection, form.                 8   document.
 9      A. I don't know that it would -- I                9       Q. Have you had conversations with Mr.
10   wouldn't say it would fall under those. That was    10   Coster regarding Medicaid pharmacy issues?
11   guidance or an expansion of the kinds of factors    11       A. Yes, over the years.
12   that we would look at as we were evaluating state   12       Q. Do you recall approximately how many?
13   plan amendments. So it is consistent with it to     13       A. A very rough guess would be two to
14   the extent that the result of this amendment        14   three a year.
15   would be to lower reimbursement to a more           15       Q. What would occasion those meetings?
16   appropriate level than would otherwise be the       16       A. The National Chain Drug Store
17   case.                                               17   Association repeatedly sought to come in and
18      Q. What if the proposed amendment did not        18   speak to us at the agency. And we granted their
19   reduce the reimbursement amount to the prices at    19   request on occasion. Not nearly as often as they
20   which pharmacies were generally and currently       20   would probably have liked.
21   paying for drugs?                                   21       Q. If you would look at the note on the
22      A. We did not have independent evidence as       22   front page, the handwritten note there?
                                                                              26 (Pages 347 to 350)
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                                             Page 391                                                Page 393
 1   see that.                                            1   know.
 2       A. I do see that.                                2        Q. Do you think that there are others who
 3       Q. Okay. And do you recall that subject          3   know more about the actual cost to dispense drugs
 4   being discussed at the panel meeting?                4   than you?
 5       A. I remember the discussion about the           5        A. Oh, I'm sure there are many people who
 6   discounts on AWP. I don't recall the discussion      6   know more than me.
 7   -- a discussion about dispensing fees.               7        Q. And who know more than anyone else at
 8       Q. But it's something that may have been         8   CMS?
 9   discussed? You just don't recall?                    9           MS. MARTINEZ: Objection, form.
10       A. It may have been discussed, yes. I           10        A. I don't think we at CMS are very
11   just don't recall.                                  11   knowledgeable on this subject.
12       Q. Would you agree that Medicaid                12        Q. If you go to the next line, it states
13   dispensing fees are low relative to actual          13   in the next sentence "One panel member commented
14   dispensing costs?                                   14   'If it weren't for the AWP spread, the pharmacies
15          MS. MARTINEZ: Objection, form.               15   would be out of business.'"
16       A. No. I don't consider myself                  16        A. I see that.
17   knowledgeable enough to make that statement.        17        Q. Do you recall that comment being made?
18       Q. So you wouldn't have any basis to            18        A. No. I don't recall it.
19   disagree with ABT's statement that "Experts agree   19        Q. But you don't disagree that the comment
20   that Medicaid dispensing fees are low relative to   20   was made during the panel conference?
21   actual dispensing costs"; is that fair to say?      21           MR. KELLEY: Objection to form.
22          MS. MARTINEZ: Objection, form.               22           MS. MARTINEZ: Objection, form.
                                             Page 392                                                Page 394
 1      A. The only problem I have is Medicaid            1       A. I assume since it's reported here that
 2   dispensing fees being talked about as a unit I       2   -- I accept it on its face value that it was
 3   think is a bit problematic, because they do vary     3   probably said, yes.
 4   quite substantially across states. So --             4       Q. So you don't recall who made the
 5      Q. But this firm felt it appropriate to           5   statement?
 6   refer to Medicaid dispensing fees in the             6       A. No, I don't.
 7   aggregate and make comments upon it. Do you          7       Q. Then it says "Payments based on the
 8   think that's inappropriate for them to do that?      8   cost structure experienced by pharmacies may
 9          MS. MARTINEZ: Objection to form.              9   warrant payment of a reasonable and managed
10      A. I don't think it was inappropriate for        10   spread (an amount paid above the actual
11   them to do that. But your question to me was do     11   acquisition cost) in addition to a fixed
12   I concur with this statement as written. And I      12   dispensing fee and an appropriate service fee for
13   think it's a bit overbroad to just talk about       13   medication therapy management." Do you see that?
14   them in general in the aggregate. Because they      14       A. Yes.
15   do vary quite a bit.                                15       Q. And is it your view that a reasonable
16      Q. Do you have any basis to disagree with        16   and managed spread should not be paid above
17   the contention that most experts agree that         17   acquisition cost by Medicaid programs?
18   generally speaking Medicaid dispensing fees are     18          MS. MARTINEZ: Objection, form.
19   low relative to actual dispensing costs?            19       A. I believe our regulations call for an
20          MS. MARTINEZ: Objection, form.               20   actual acquisition cost, which is a cost very
21      A. I just am not knowledgeable enough to         21   close to, if not precisely -- but, you know,
22   speak to what most experts think. I just don't      22   certainly a cost close to what is paid by the
                                                                              37 (Pages 391 to 394)
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                                           Page 395                                                  Page 397
 1   pharmacy for the drug ingredient. So I would not   1      A. Yes.
 2   agree that that statement is consistent with the   2      Q. And you saw that too?
 3   Medicaid regulation for Medicaid.                  3      A. Yes, we did.
 4       Q. And you were aware, were you not, that      4      Q. And you don't know of any empirical
 5   there was empirical evidence indicating that       5   evidence suggesting that those findings are
 6   states were not paying estimated acquisition cost  6   wrong, do you?
 7   or actual acquisition cost or anything close to    7      A. No. I'm sure they are what they are
 8   those numbers for generic drugs at the time --     8   represented to be, which is looking at eight or
 9   roughly around the time you started the job?       9   nine states and 200 pharmacies. They certainly
10          MS. MARTINEZ: Objection, form.             10   represent that. That doesn't mean they -- it's
11       Q. Am I right?                                11   true -- certainly not precisely true -- in the
12       A. Based on the findings in the Inspector     12   other 42, 43 states and we don't know about for
13   General, yes, we knew that the states -- that's   13   other pharmacies. So what they looked at, I
14   when we started to understand that states were    14   accept their findings as being what in fact they
15   paying too much for drugs.                        15   found in doing their review.
16       Q. And you don't know what CMS understood 16          Q. Is it your testimony, Ms. Duzor, that
17   about these issues before you started?            17   CMS did not know in 2002 at the latest that
18       A. No. I couldn't speak to that.              18   states were not abiding by the estimated
19       Q. This may have been something that had      19   acquisition cost regulation for generic drugs?
20   been going on for five, ten years or more and you 20          MR. KELLEY: Objection to form.
21   wouldn't know?                                    21          MS. POLLACK: Objection to form.
22          MS. MARTINEZ: Objection, form.             22          MS. MARTINEZ: Objection to form.
                                           Page 396                                                  Page 398
 1       A. I have not studied the history. I          1        A. Again, I don't think it was that states
 2   don't know.                                       2    were not abiding by it. I think that they didn't
 3       Q. So fair to say that you know that          3    know where to set their payment rates. And it's
 4   states for generic drugs are not complying with   4    difficult to get from one place to another in one
 5   the estimated acquisition cost regulation --      5    fell swoop. So we were encouraging states and we
 6           MS. MARTINEZ: Objection to form.          6    were having success with states in starting to
 7           MR. KELLEY: Objection to form.            7    ratchet down how much they paid for drugs based
 8       Q. -- to put it simply?                       8    upon the information that the IG had presented.
 9       A. I can't put it that simply because I       9        Q. What did CMS do to encourage the states
10   don't think that states mean not to be complying 10    to ratchet down the reimbursement?
11   with our regulation. I think they are at a lack  11        A. We gave them the IG report. We started
12   of knowing what price to pay to meet the         12    to approve state plan amendments with decreasing
13   requirements of that regulation as we are        13    pharmacy cost.
14   similarly at a lack to know what to approve for  14        Q. Even when they didn't decrease at
15   states.                                          15    amounts consistent with OIG's findings, right?
16       Q. Well, they received OIG's reports that    16           MS. MARTINEZ: Objection, form.
17   showed findings across eight states an average   17        A. Well, if we had not approved those
18   discount of 66 percent for generic drugs, did    18    state plan amendments then their payments would
19   they not?                                        19    have been yet higher than with the approval of
20           MR. WINGET-HERNANDEZ: Objection to 20          the amendments. So again, they were moving in
21   form.                                            21    the right direction.
22           MR. KELLEY: Objection to the form.       22        Q. But you could have caused them to
                                                                             38 (Pages 395 to 398)
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                                                               45 (Pages 423 to 426)
                                                  423                                                       425
 1      Q. Do you recall knowing or have you been         1       Q. And do you have any knowledge about
 2   aware of the fact that states, at least              2   that?
 3   Minnesota, according to Mr. Wiberg, considered       3       A. No, I don't.
 4   the spread between AAC and AWP when determining      4       Q. Do you have any reason to believe that
 5   what to pay for dispensing fee?                      5   what Mr. Wiberg was saying here was not correct?
 6         MR. KELLEY: Objection, form.                   6          MR. KELLEY: Objection to form.
 7         MS. MARTINEZ: Objection, form.                 7          MS. MARTINEZ: Objection to form.
 8      A. As I said, I have never seen this e-           8       A. No, I have no reason to have any
 9   mail before. So no, I was not aware that             9   opinion on it. It's not something I am familiar
10   Minnesota thought of that in setting theirs, in     10   with.
11   setting their ingredient cost.                      11       Q. If we go to the next paragraph, he ends
12      Q. Does this --                                  12   it with the sentence "However, the problem should
13      A. Dispensing fee. I'm sorry.                    13   be approached in one of two ways. One, state
14      Q. Does this surprise you, this language?        14   Medicaid agencies should be allowed to work out
15         MS. MARTINEZ: Objection, form.                15   their own solutions (by increasing the discount
16      A. No. It doesn't surprise me. But I             16   off of AWP, adjusting the dispensing fee,
17   think it's a well established fact at this point    17   establishing MACs, et cetera); or two, a national
18   in time. I'm not sure whether this would have       18   solution should be pursued that accounts for all
19   been surprising or not back in 2000. He may have    19   aspects of the problem and that is developed by
20   been ahead of his time. This may have been a        20   and with input from all interested parties
21   revelation at that point.                           21   (NAMFCU, state Medicaid agencies, private third
22      Q. Or it could have been just what               22   party payors, First Databank, pharmacy
                                                  424                                                       426
 1   everyone knew at the time who was operating in       1   organizations, et cetera.)" Do you see that?
 2   the state pharmacy area?                             2      A. Yes.
 3          MS. MARTINEZ: Objection to form.              3      Q. Have you heard any discussion with
 4       A. I can't speak to that. I wasn't part          4   states or within CMS that on this issue of
 5   of that at that time.                                5   pharmacy reimbursement the state agencies should
 6       Q. If I can skip a paragraph, Mr. Wiberg         6   be able to work out their own pricing, their own
 7   wrote "Some public and private third party payors    7   solutions to what they think is most effective?
 8   have purposely kept dispensing fee low precisely     8          MS. MARTINEZ: Objection, form.
 9   because there is a spread between AWP and AAC."      9      A. No. I don't recall ever being part of
10   Do you see that?                                    10   any discussions.
11       A. Yes, I do.                                   11      Q. Is that something that you have
12       Q. Is that repeating the same sentiment         12   considered in your role as the co-lead of the CMS
13   that he made earlier?                               13   pharmacy team charged with approving state plans
14          MS. MARTINEZ: Objection to form.             14   for payment of drugs?
15       A. It seems to be, with the extension of        15          MS. MARTINEZ: Objection, form.
16   it to private third parties in addition to public   16          MR. WINGET-HERNANDEZ: Objection, form.
17   payors.                                             17      A. There is a regulation that says that
18       Q. He says "In fact when pharmacy               18   state Medicaid payments should be estimated
19   organizations have sought an increase in            19   acquisition cost plus reasonable dispensing fee.
20   dispensing fees, the AWP spread has been pointed    20   So I would have to say that the answer is no,
21   out to legislatures." Do you see that?              21   that we wouldn't think it appropriate to allow
22       A. Yes, I do.                                   22   states to be totally on their own because to the


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                                                               46 (Pages 427 to 430)
                                                   427                                                    429
 1   extent that what they would do would be              1   costs. Duzor acknowledged that CMS is concerned
 2   inconsistent with our regulation we would have an    2   about whether AMP will hurt patient access to
 3   obligation to review their state plan and these      3   care, but she believes things will work out for
 4   prices have to be in their state plan.               4   pharmacies as long as states figure out how to
 5              (Exhibit Abbott 493 was marked for        5   make it work." Do you see that?
 6   identification.)                                     6       A. Yes, I do.
 7   BY MR. TORBORG:                                      7       Q. What did you mean when you said "as
 8       Q. For the record, what I've marked as           8   long as states figure out how to make it work"?
 9   Exhibit 493 is a September 3rd 2007 article from     9       A. Actually, that last sentence doesn't
10   Drug Topics titled "On AWP issue feds and           10   sound to me like something I said. So I think
11   pharmacists are wide apart." And Ms. Duzor, if      11   it's probably -- it's their reworking of
12   you would take a look at this document and let me   12   something I said. I don't believe I said that we
13   know if you are familiar with it.                   13   had concerns about whether AMP will hurt patient
14       A. No. I'm not familiar with it.                14   access to care. We don't have any concerns. We
15       Q. This is an article that quotes you; is       15   don't believe it will.
16   that right?                                         16       Q. So --
17       A. I haven't gotten that far.                   17       A. I mean, if it did have an adverse
18       Q. I'm sorry.                                   18   effect on patient care we would care about that.
19       A. (Reading.) Okay. I've completed              19   But we don't believe that it would.
20   reading it.                                         20       Q. So it's your testimony that you've been
21       Q. This is an article that's quoting you;       21   in this article misquoted?
22   is that right?                                      22          MS. MARTINEZ: Objection, form.
                                                   428                                                    430
 1      A. Yes, it does.                                  1       Q. Is that fair to say?
 2      Q. And it concerns a topic we covered             2          MS. MARTINEZ: Objection, form. This
 3   earlier today, which is the use of AMP to            3   was not a direct quote in that paragraph.
 4   calculate federal upper limits; is that right?       4       Q. You've been misparaphrased?
 5      A. Yes. Indirectly. It doesn't actually           5       A. Yes. I would say I believe in that
 6   talk about federal upper limits, but --              6   last sentence I've been misparaphrased, yes.
 7      Q. Well, the average manufacturer price           7       Q. Do you believe her article does not
 8   final rule referred to in the second and third       8   fairly reflect what -- did you talk to Judy Chi?
 9   sentences of this article, can you think of any      9       A. No, I didn't. She --
10   other AMP final rule besides the federal upper      10       Q. Do you know where she's getting this
11   limit rule?                                         11   from?
12      A. No. I agree with you it is -- the AMP         12       A. I did speak to several groups after the
13   final rule does deal with the issue of the new      13   final rule was published. So I assume it was
14   federal upper limits.                               14   from one of those presentations.
15      Q. In the fourth paragraph the article           15       Q. So it's your testimony to the jury that
16   states "In contrast, Duzor" -- that would be you,   16   you don't believe that CMS has concerns about
17   right?                                              17   whether AMP will hurt patient access to care?
18      A. That would be me.                             18          MR. WINGET-HERNANDEZ: Objection to
19      Q. "Said the AMP rule would allow Medicaid       19   form.
20   to pay more appropriately for drugs since the       20          MS. MARTINEZ: Objection, form.
21   agency has been overpaying for these products       21       Q. That's your testimony?
22   using former sources of pricing that overstated     22          MS. MARTINEZ: Objection, form.


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